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                           UNITED STATES DISTRICT COURT
                            DISTRICT OF SOUTH DAKOTA
                                NORTHERN DIVISION


UNITED STATES OF AMERICA,                             Case No. 1:21-cr-10023-BCB

              Plaintiff,

vs.                                              UNITED STATES OF AMERICA'S
                                                   BRIEF IN OPPOSITION TO
JOHN KILGALLON, DANIEL C.                            MOTION TO DISMISS
MOSTELLER and STEPHEN
HOUGHTALING,

              Defendants.



       The United States of America, by and through Special Prosecutors Thomas G.

Fritz and Cassidy M. Stalley, respectfully submit this brief in opposition to the

Defendants’ Motion to Dismiss.

                                    INTRODUCTION

       The United States Marshals Service (USMS), by and through these named

Defendants (collectively referred to as “the Defendants” or “the USMS”), makes clear

that the USMS believes that the Executive Branch – not the Judiciary – is the sole and

“final authority” on how a courtroom will function. Relying entirely on a single sentence

in 28 U.S.C. § 566(i), the USMS appears to assert that it has the exclusive power to

disobey, delay, and disrupt court orders and proceedings under the guise of providing

“judicial security.” The USMS boldly argues, therefore, that these Defendants did
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nothing wrong, certainly nothing contemptuous, and the case should be dismissed as a

matter of law.

       Even if the USMS’s misguided interpretation of its authority were correct – it is

not – granting the Defendants’ Motion would be procedural error. United States v. Ferro,

252 F.3d 964, 967 (8th Cir. 2001) (cleaned up and citation omitted). Indeed, the

Defendants seek to challenge the sufficiency of the United States’ evidence before trial.

Defendants are effectively asking this Court to make factual determinations that fall

within the province of the jury and to grant them summary judgment in their case. But

making pretrial factual findings that go to the merits of the government’s case is

expressly prohibited by both the Eighth Circuit and the Federal Rules of Criminal

Procedure. United States v. Turner, 842 F.3d 602, 604-05 (8th Cir. 2016). For this and

all the reasons set forth below, Defendants’ Motion must be denied.

                          ARGUMENTS AND AUTHORITY

I.     Rule 12 and the Eighth Circuit’s Well-Established Precedent Prohibits This
       Court from Granting Defendants’ Motion.

       Motions to dismiss are governed by Rule 12 of the Federal Rules of Criminal

Procedure. In general, “[a] party may raise by pretrial motion any defense, objection, or

request that the court can determine without a trial on the merits.” Fed. R. Crim. P.

12(b)(1). However, the Eighth Circuit has made clear that although Rule 12

“contemplates that district courts may sometimes make factual findings when ruling on

pretrial motions, . . . [c]ourts may not, however, make factual findings when an issue is

‘inevitably bound up with evidence about the alleged offense itself.’” United States v.



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Turner, 842 F.3d 602, 605 (8th Cir. 2016) (quoting United States v. Grimmett, 150 F.3d

958, 962 (8th Cir. 1998)). In other words, “when a defense raises a factual dispute that is

inextricably intertwined with a defendant’s potential culpability, a judge cannot resolve

that dispute on a Rule 12(b) motion.” United States v. Sampson, 898 F.3d 270, 280–81

(2d Cir. 2018) (citation omitted). “Doing so would ‘invade the province of the ultimate

finder of fact.’” Id. at 281 (citing United States v. Schafer, 625 F.3d 629, 635 (9th Cir.

2010)).

       Moreover, unlike the Federal Rules of Civil Procedure, which authorize a grant of

summary judgment, Rule 12(b) “does not provide for a pre-trial determination of

sufficiency of evidence.” United States v. Ferro, 252 F.3d 964, 968 (8th Cir. 2001)

(cleaned up and citation omitted); see also United States v. Salman, 378 F.3d 1266, 1268

(11th Cir. 2004) (per curiam) (“[T]here is no explicit authority to grant a pre-trial

judgment as a matter of law on the merits under the Federal Rules of Criminal

Procedure.”). The Eighth Circuit has explained that because there is “no equivalent in

criminal procedure to the motion for summary judgment that may be made in a civil

case . . . the government has no duty to reveal all of its proof before trial.” United States

v. Nabors, 45 F.3d 238, 240 (8th Cir. 1995); see also United States v. Sampson, 898 F.3d

270, 280 (2d Cir. 2018) (noting that there is no federal appellate case granting a district

court the authority to require the government, before trial, to make a detailed presentation

of the entirety of the evidence). Indeed, the government is “entitled to marshal and

present its evidence at trial.” Ferro, 252 F.3d at 968 (quoting United States v.

DeLaurentis, 230 F.3d 659, 661 (3d Cir. 2000) (emphasis added). The government need


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not reveal its hand any sooner. See United States v. Pope, 613 F.3d 1255, 1259–1260

(10th Cir. 2010) (“[U]nlike their civil counterparts, criminal proceedings have no

extensive discovery and summary judgment procedures requiring both sides to lay their

evidentiary cards on the table before trial.”). In fact, “[p]ermitting civil ‘summary

judgment’-like motions . . . would enable an end-run around the calibrated framework for

discovery in criminal cases. To overcome such motions, the government might need to

reveal its complete case before trial.” Sampson, 898 F.3d at 280. Requiring the

government to reveal its complete case before trial “would upset the policy choices

reflected in the criminal discovery rules—and provide an advantage to the defense that

the Rules’ drafters did not intend.” Id. at 280–81. Thus, a court’s ruling on a pretrial

motion to dismiss would be based on mere speculation as to what the evidence will be.

The Eighth Circuit recognizes this reality and expressly disapproves of this practice. See

id. (“We simply cannot approve dismissal of an indictment on the basis of predictions as

to what the trial evidence will be.” (quoting DeLaurentis, 230 F.3d at 661) (cleaned up)).

       Therefore, a court can only resolve a pretrial motion under Rule 12(b) “‘if trial of

the facts surrounding the commission of the alleged offense would be of no assistance in

determining the validity’ of the motion.” Turner, 842 F.3d at 604–05 (quoting United

States v. Covington, 395 U.S. 57, 60 (1969)). Under the Eighth Circuit’s guiding

precedent, “if disposing of the pretrial motion requires making factual determinations that

fall within the province of the ultimate finder of fact” a district court must defer resolving

those questions until trial. Id.




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       Undeniably, Defendants’ Motion asks this Court to make factual determinations

that are completely outside the bounds of Rule 12(b) and exclusively within the province

of the ultimate finder of fact. Indeed, in the first instance, Defendants ask the Court to

make a pretrial factual determination as to the defendants’ intent or state of mind when

the Defendants directed the deputy marshal to remove the prisoners from the federal

courthouse without the permission of the district court. (See Filing 46 at pg. 34–42).

Defendants are charged with criminal contempt under 18 U.S.C. §§ 401(1) and 401(3).

To convict the Defendants under both §§ 401(1) and 401(3), the United States must

establish beyond a reasonable doubt that Defendants acted with criminal intent. See U.S.

ex rel. Shell Oil Co. v. Barco Corp., 430 F.2d 998, 1001 n.5 (8th Cir. 1970) (stating that

criminal intent is an essential element of criminal contempt). A defendant acts with

criminal intent when he acts willfully. See Wright v. Nichols, 80 F.3d 1248, 1251 (8th

Cir. 1996) (affirming conviction for criminal contempt because the evidence showed that

the defendant acted willfully); United States v. Dowdy, 960 F.2d 78, 81 (8th Cir. 1992)

(same). Willfulness means “a deliberate or intended violation, as distinguished from an

accidental, inadvertent, or negligent violation of any order.” In re Medlock, 406 F.3d

1066, 1071–72 (8th Cir. 2005).

       Whether Defendants acted willfully is a question that falls squarely “within the

province of the ultimate finder of fact.” Id. To be sure, the Supreme Court has expressly

held that “where intent of the accused is an ingredient of the crime charged, its existence

is a question of fact” that a judge cannot resolve on the jury’s behalf. Morissette v.

United States, 342 U.S. 246, 274, 72 S. Ct. 240, 96 L. Ed. 288 (1952). The Court further


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explained, “[h]owever clear the proof may be, or however inconstrovertible [sic] may

seem to the judge to be the inference of a criminal intention, the question of intent can

never be ruled as a question of law, but must always be submitted to the jury.” Id.

(citations omitted) (emphasis added). Only after the question of intent has been

submitted to the ultimate finder of fact may defendants challenge the sufficiency of the

evidence as to that element. See United States v. Sholley-Gonzalez, 996 F.3d 887, 893

(8th Cir. 2021) (“[C]hallenges to the evidence’s sufficiency are tested by a motion for

acquittal pursuant to Federal Rule of Criminal Procedure 29, not by a dismissal of an

indictment on the basis of predictions as to what the trial evidence will be.” (cleaned up

and citation omitted)).

       The Defendants also ask the Court to make a pretrial factual determination as to

whether the Defendants’ misbehavior occurred in or near the court’s presence. See Filing

46 at 33-34. This request is similarly premature and prohibited by Rule 12(b). To

convict the Defendants under 18 U.S.C. § 401(1), the United States must prove that

Defendants engaged in misbehavior in the court’s presence “or so near thereto as to

obstruct the administration of justice.” 18 U.S.C. § 401(1). A court’s presence extends

to “every part of the place set apart for its own use, and for the use of its officers, jurors,

and witnesses.” United States v. Rangolan, 464 F.3d 321, 325 (2d Cir. 2006) (quoting Ex

Parte Savin, 131 U.S. 267, 277 (1889)). For example, a court’s presence includes

courtrooms, jury rooms, witness rooms, and hallways immediately adjacent to these

rooms. Id. Misbehavior takes place “near” the court’s presence if such misbehavior

occurs within “physical proximity” to the court. Id. (quoting Nye v. United States, 313


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U.S. 33, 48 (1941). The phrase “so near thereto” is to be construed as a “spatial

limitation.” Rangolan, 464 F.3d at 326 (citing Nye, 313 U.S. at 48–49). Thus, contempt

under § 401 is limited to “those acts of misbehavior that did not simply obstruct justice

but that occurred in the physical presence of the court or close enough as to be disruptive

to quiet and order or to actually interrupt the court in the conduct of its business.” Id.

(quoting Nye, 313 U.S. at 52).

       Whether Defendants’ misbehavior occurred in or near the court’s presence is an

essential element of the crime that is “inevitably bound up with evidence about the

alleged offense itself.” Turner, 842 F.3d at 604–05 (citation cleaned up). The Supreme

Court has made clear that it is the jury’s responsibility, as the ultimate finder of fact. to

determine, beyond a reasonable doubt, a defendant’s guilt on “every element of the crime

with which [the defendant] is charged.” United States v. Gaudin, 515 U.S. 506, 522–23

(1995). In doing so, the jury must determine the facts, apply the law to those facts, and

draw the ultimate conclusions of guilt or innocence. Id. at 514.

       Here, the ultimate finder of fact must consider the facts surrounding the

Defendants’ orders to the deputy marshal to remove the criminal defendants from the

federal courthouse in Aberdeen. It will be the fact finder’s responsibility to then

determine whether the deputy marshal’s removal of criminal defendants from the

courthouse—an act she undertook based on Defendants’ orders—“occurred in the

presence of the court or close enough as to . . . actually interrupt the court in the conduct

of its business.” Rangolan, 464 F.3d at 326. Because it is the jury’s job, as the ultimate

finder of fact, to decide the Defendants’ guilt on every element of the crime, this Court


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must defer ruling on Defendants’ Motion to Dismiss. See Turner, 842 F.3d at 605

(cleaned up and citation omitted)). In sum, this Court cannot determine the sufficiency of

the evidence before trial under Rule 12(b) as that determination rests exclusively with the

ultimate finder of fact.

         The Defendants, however, completely ignore this well-established rule in their

brief. Instead, they contend that this Court retains the inherent power and authority to

dismiss criminal contempt proceedings without the necessity of trial. (See Filing 46 at

24-28). In other words, Defendants suggest that criminal contempt proceedings are

excepted from the general rule. But in support of this contention, Defendants cite to only

two cases—neither of which are of any help to Defendants.1

         For example, the first case that Defendants cite to is United States v. Kelsey-Hayes

Co., 476 F.2d 265 (6th Cir. 1973). In that case, a district court judge levied criminal

contempt charges against the defendants for violating certain provisions of the court’s

consent decree in anti-trust case. Id. at 265–66. The defendants filed a pretrial motion to

dismiss, effectively challenging the sufficiency of the government’s evidence. Id. at 266.

Another district court judge, having taken the case over from the original district court

judge, granted the motion to dismiss, concluding that as a matter of law the defendants

did not commit criminal contempt. Id. The government appealed the dismissal. Id.

Notably, the only issue on appeal was whether the dismissal was an appealable order.



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  Defendants also cite to the Wright and Miller treatise, which states that a “judge may dismiss contempt
proceedings sue sponte before trial.” 3A Fed. Prac. & Proc. Crim. § 709 (4th ed. April 2021 updated). However,
the only case that the treatise authors cite in support of that statement is one of the cases that Defendants have cited,
United States v. Barnett, 346 F.2d 99 (5th Cir. 1965). Id. at § 709 n.28.


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Id. at 266–27. The Sixth Circuit concluded that it was not. Id. at 267. The Sixth Circuit

never considered whether the district court judge had the authority to summarily dismiss

the criminal contempt charges before trial based on the argument of insufficient evidence.

Thus, Kelsey-Hayes Co. does not support Defendants’ proposition that a district court

judge can—in contravention of well-established guiding precedent—make factual

determinations that belong to the jury and dismiss criminal contempt charges before trial.

       Likewise, the Defendants’ other case, United States v. Barnett, 346 F.2d 99

(5th Cir. 1965), does not support their proposition. In Barnett, the Fifth Circuit ruled that

James Meredith, an African-American student, must be permitted to attend the University

of Mississippi, an all-white university. The governor and lieutenant governor of

Mississippi refused to follow the court’s decree, ordering law enforcement from around

the state to form a wall to physically prevent Meredith from entering the University of

Mississippi. Id. at 104 (Wisdom, J., dissenting).

       In 1962, the Fifth Circuit held both the governor and lieutenant governor in civil

and criminal contempt. Id. at 100. Three years later, in a four to three decision, the Fifth

Circuit determined that it was in the public’s best interest to dismiss the criminal

contempt charges against the defendants. Id. The Fifth Circuit noted that criminal

contempt is “a sui generis proceeding for the protection of the integrity of the Court.” Id.

Therefore, those proceedings are “within the control of the Court and the Court has the

power and authority to order them dismissed.” Id. Notably, the Fifth Circuit reasoned

that the criminal proceedings should be dismissed because “considerations of respect for

the Court do not require further prosecution” given the defendants’ substantial


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compliance with court orders. Id. Moreover, the Fifth Court found further proceedings

were not necessary to deter others. Id.

       Contrary to Defendants’ representation of the law, Barnett at best provides this

Court with non-binding, persuasive authority to dismiss criminal contempt proceedings

before trial if “considerations of respect for the Court do not require further prosecution”

due to substantial compliance with court orders and in the interest of the public. As

detailed below, such is not the case here. And there are reasons to doubt whether a court

actually possesses this authority. Indeed, the Barnett court itself does not cite any

authority to support its determination that it had the power to dismiss the case before trial.

See id. at 106 (Wisdom, J., dissenting) (explaining that the only two cases that the court

cited were cases in which the defendant was tried and found guilty of contempt). It is

clear that the Barnett court sought to avoid a stand-off between the former governor of

Mississippi and the federal government; the Fifth Circuit’s analysis is largely motivated

by political considerations rather than legal considerations. Moreover, Defendants do not

cite to any cases in which another circuit, including the Eighth Circuit, has held the same,

and the United States has been unable to find any such cases. Given the unique facts of

Barnett and that no other court has followed its holding, the case also does little to

support Defendants’ contention that this Court has the power to dismiss this case before

trial by making factual determinations that go to the very heart of the government’s case

in contravention of Rule 12(b) and related case law.

       In sum, Defendants have failed to show that criminal contempt proceedings are

exempt from the well-established rule that a court cannot consider a pretrial motion to


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dismiss “when a defense raises a factual dispute that is inextricably intertwined with a

defendant’s potential culpability.” United States v. Sampson, 898 F.3d 270, 280-81 (2d

Cir. 2018) (citation omitted); see also United States v. Turner, 842 F.3d 602, 604-05 (8th

Cir. 2016). Whether Defendants possessed the requisite intent or whether their

misbehavior occurred in or near the court’s presence, are questions of fact for the jury or

ultimate fact-finder. United States v. Gaudin, 515 U.S. 506, 522–23 (1995); Morissette v.

United States, 342 U.S. 246, 274, 72 S. Ct. 240, 96 L. Ed. 288 (1952). It would be

procedural error for this Court to consider the sufficiency of the United States’ evidence

before trial and make a factual determination on the issues of intent and proximity that

are inevitably bound up with evidence about the alleged offense itself. Turner, 842 F.3d

at 604–05; See also Ferro, 252 F.3d at 967. The United States respectfully requests that

Defendants’ Motion be denied.

II.    The Interests of Justice and Public Interest Require That This Case Proceed.

       The Defendants argue that “the public interest, including the interest of Judicial

and Executive Branches of the United States government, calls for a dismissal.” See

Filing 46 at 28. Defendants plead that they were “in a no-win situation . . . forced to

choose between conflicting direction from Executive and Judicial Branches,” and they

had “no choice but to follow orders from USMS Headquarters,” which in turn was acting

under its statutory authority. Id. at 30. But in making this argument, Defendants ignore

salient facts, fail to take responsibility for their own actions, and inflate their statutory

authority; they in essence argue they are “beyond the reach of the law.” Young v. U.S. ex




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rel. Vuitton et Fils S.A., 481 U.S. 787, 796, n. 8, 107 S. Ct. 2124, 2132, 95 L. Ed. 2d 740

(1987) (citation omitted).

       As this Court is well-aware, courts are clothed with the power of contempt. In

fact, “the power to punish for contempt is inherent in all courts.” Id. at 795 (citation

omitted). “The ability to punish disobedience to judicial orders is regarded as essential to

ensuring that the Judiciary has a means to vindicate its own authority without complete

dependence on other Branches.” Id. at 796. It “is a necessary and integral part of the

independence of the judiciary, and is absolutely essential to the performance of the duties

imposed on them by law. Without it they are mere boards of arbitration, whose

judgments and decrees would be only advisory.” Gompers v. Buck’s Stove & Range Co.,

221 U.S. 418, 450, 31 S. Ct. 492, 501, 55 L. Ed. 797 (1911). Indeed, the Supreme Court

has cautioned that “if a party can make himself a judge of the validity of orders which

have been issued, and by his own act of disobedience set them aside, then are the courts

impotent, and what the Constitution now fittingly calls the ‘judicial power of the United

States’ would be a mere mockery.” Id. “The need to vindicate a court’s authority is thus

satisfied by ensuring that an alleged contemner will have to account for his or her

behavior in a legal proceeding, regardless of whether the party is ultimately convicted or

acquitted.” Young, 481 U.S. 787 at 796, n. 8, 107 S. Ct. at 2132.

       Here, by at least May 4, 2021, Defendants were well-aware that the district court

was not going to permit any unvaccinated individual, specifically including USMS, to be

present in the courtroom or chambers. See Ex. A hereto. In fact, Defendants were

specifically told by the Honorable Roberto Lange on May 4, 2021, that the court “likely


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will debar from chambers and courtrooms all its employees who refuse to be vaccinated”

and “want to avoid having unvaccinated Deputy US Marshals in the courtrooms.” Ex. B.

If there was any question, Judge Kornmann then made explicitly clear to Defendant

Mosteller that Judge Kornmann was restricting all unvaccinated individuals, including

“Marshal personnel” from the courtroom:

       Mosteller to Hon. Kornmann, May 4, 2021 at 11:18 am: I was advised by
       the Aberdeen CSO staff that during a recent phone conversation you stated
       that no unvaccinated CSO or attorney will be allowed into your courtroom.
       In an effort to be best prepared for your return to the Aberdeen courtroom,
       do you anticipate such a restriction applying to USMS personnel, USMS
       part-time contract personnel and defendants? I want to ensure that I am
       working from the same sheet of music as you and can be prepared to
       provide the best possible service for the Court, given the parameters within
       which I must work.

       Hon. Kornmann to Mosteller, May 4, 2021 at 11:49 am: It does not apply to
       defs. Applies to GA attorneys, AUSA’s, Marshal personnel, probation
       officers, and to anyone else except persons who request an exception with
       good reasons to do so.

Ex. A (emphasis added). Defendant Mosteller acknowledged the same, thanking Judge

Kornmann for his “timely response and clarification.” Id. Yet knowing all of this, the

Defendants feigned shock when Judge Kornmann ordered Deputy USMS Kinney to leave

the courtroom.

       What happened next was a flagrant display of disrespect and disobedience to the

district court. Indeed, instead of first contacting the district court to discuss how best to

proceed forward in this situation, or even ask the AUSA, who was present at the

courthouse, for a continuance, the Defendants, at the direction of “USMS Headquarters,”

unilaterally directed the removal and transport of prisoners from the courthouse to the



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nearest appropriate jail facility. (Each of these prisoners was ordered to appear pursuant

to valid court order for sentencing.) In fact, for over two hours, no one from the USMS

even attempted to contact the district court to discuss the situation or the USMS’s

perceived “conflicting direction from Executive and Judicial Branches.” See Filing 46 at

30; see also Ex. C. When the prisoners were nowhere to be found, the AUSA was so

“flummoxed” and concerned that he requested the “ability to inspect [the USMS office]

and make sure no one was hurt or something.” Ex. D hereto. When the USMS finally

informed the district court what it had done, it offered no solution and advised that it

likely would not be able to produce prisoners for hearings the next day. Id. at 9.

       The USMS claims these Defendants had statutory authority to unilaterally direct

the removal of the prisoners without permission of the district court, all in the name of

“judicial security.” This asserted position should give this Court some pause.

       The United States recognizes that 28 U.S.C. § 566(i) provides, in part, that “the

United States Marshals Service retains final authority regarding security requirements for

the judicial branch of the Federal Government.” However, it is clear from reading the

entirety of Section 566(i) that Congress did not intend for the USMS to cause the well-

oiled gears of the judicial system come to a screeching halt whenever the USMS

determines there is a security issue. To be sure, the first part of Section 566(i) states the

“Director of the United States Marshals Service shall consult with the Judicial

Conference of the United States on a continuing basis regarding the security

requirements for the judicial branch.” (Emphasis added). This is in keeping with the fact

that the USMS was created by the first Congress and “given extensive authority to


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support the federal courts within their judicial districts and to carry out all lawful orders

issued by judges, Congress, or the president.” See

https://www.usmarshals.gov/history/broad_range.htm (last visited July 26, 2021)

(emphasis added). Its motto is “Justice. Integrity. Service.” Id. And for over 200 years,

the USMS has contributed to the judiciary’s efficient operations and ensured that the

courts function smoothly.

       Yet the USMS is arguing here that the USMS can determine – at any time and for

any reason – that “security requirements” require removing prisoners and preventing

them from appearing at a court ordered sentencing hearing without even consulting with

the court. Instead of supporting the court, carrying out its lawful orders, and making its

process effective, the USMS appears to believe it can subvert the authority of the court,

creating, instead of removing, obstructions to the exercise of justice. But if allowed to

remove prisoners without the court’s permission – let alone, knowledge – can the USMS

then close the courthouse, prevent a jury trial, or refuse to transport prisoners, all in the

name of security? Surely not. Still, this is what Defendants are asking this Court to

sanction and approve by dismissing the criminal contempt charges against them.

       The USMS and the judiciary must work in concert as they have done for over 200

years. For whatever reason, the USMS refused to do so here, opposing, not upholding,

compliance with the district court’s orders. And their refusal resulted in disruption,

delay, and disobedience of court orders. The interests of justice and public interest

require that these Defendants, and the entire USMS as a whole, be made to answer and

account for their own acts of disobedience in vindication of the court’s authority. Young,


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481 U.S. 787 at 796, n. 8, 107 S. Ct. at 2132. “To be held accountable is not to forecast

the outcome.” United States v. Barnett, 346 F.2d 99, 103–04 (5th Cir. 1965) (Brown,

dissenting). Instead, “to be held accountable is merely to require that through an orderly,

fair trial, it be determined whether the conduct of this high officer was or was not legally

justifiable, was or was not a willful disobedience to a lawful order of this Court.” Id. To

dismiss this case outright, without hearing all of the evidence, would allow the USMS to

“make [it]self a judge of the validity of the orders,” “by [its] own act of disobedience set

them aside” on the basis of statutory authority, and make a mockery of the judicial power

of the courts. Gompers, 221 U.S. at 450, 31 S. Ct. at 501.

III.   Position on Jury Trial

       As directed by this Court’s Order, Filing 39, the United States offers the following

on the issue of whether a jury trial is required by law.

       The United States recognizes that this Court, in its findings regarding the nature of

the proceedings in Section 11.A of its Order following the status conference in this case,

found that “the charges at issue constitute Class B-or-lower misdemeanors or infractions”

for purposes of determining whether the Speedy Trial Act applied. Id. at 5. The United

States further acknowledges that generally, “[p]etty contempt like other petty criminal

offenses may be tried without a jury.” Int’l Union, United Mine Workers of Am. v.

Bagwell, 512 U.S. 821, 837 n.5 (1994).

       However, petty contempts are “such as where a witness refuses to testify, or a

party disrupts the court.” Id. at 832. Petty contempts “traditionally have been subject to

summary adjudication, to maintain order in the courtroom and the integrity of the trial


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process in the face of an actual obstruction of justice.” Bagwell, 512 U.S. at 832, 114

S. Ct. at 2560 (cleaned up and citations omitted).

       On the other hand, “once a court leaves the realm of immediately sanctioned”

petty contempts, the Supreme Court has instructed that certain due process rights, such as

a jury trial, may be required. Id. For example, the Supreme Court has explained “[i]f a

court delays punishing a direct contempt until the completion of trial, for example, due

process requires that the contemnor’s rights to notice and a hearing be respected.” Id.

Similarly, if the court contemplates punishing the accused with “serious criminal

penalties,” then the accused is entitled to “the full protections of a criminal jury trial.” Id.

at 833; see also Bloom, 391 U.S. at 208, 88 S. Ct. at 1485–86 (“when serious punishment

for contempt is contemplated, rejecting a demand for jury trial cannot be squared with the

Constitution or justified by considerations of efficiency or the desirability of vindicating

the authority of the court.”). Moreover, “criminal procedural protections such as the

rights to counsel and proof beyond a reasonable doubt are both necessary and appropriate

to protect the due process rights of parties and prevent the arbitrary exercise of judicial

power,” where elaborate and reliable factfinding are required. Id. at 833-34.

       Here, the Defendants are charged with two counts of criminal contempt. The

Supreme Court has stated that “[c]riminal contempt sanctions are entitled to full criminal

process.” Id. (citation omitted). The district court did not summarily adjudicate these

Defendants. Instead, it elected to impose penalties after notice and the completion of a

trial. This suggests that Defendants are entitled to certain due process protections

including the right to a jury trial. Indeed, they have demanded a jury trial. Furthermore,


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their conduct may warrant serious criminal sanctions to deter others from engaging in the

same behavior. That said, caution favors having a jury trial.

                                     CONCLUSION

       For all of the reasons outlined above, the United States respectfully requests that

this Court deny the Defendants’ Motion.

       Dated September 17, 2021.

                                       LYNN, JACKSON, SHULTZ & LEBRUN, P.C.


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                             CERTIFICATE OF SERVICE

      I hereby certify that on September 17, 2021, I sent to:

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by Notice of Electronic Filing generated by the CM/ECF system, a true and correct copy
of United States of America’s Brief in Opposition to Motion to Dismiss relative to the
above-entitled matter.


                                          /s/ Cassidy M. Stalley
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